Case 4:16-Cv-00374-GKF-FHI\/| Document 2-2 Filed in USDC ND/OK on 06/22/16 Page 1 of 5

EXHIBIT 2

 

Case 4:16-Cv-00374-GKF-FHI\/| Document 2-2 Filed in USDC ND/OK on 06/22/16 Page 2 of 5

   

 

 

 

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY M E
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§
LESLIE FARMER, an individual, ) "' ‘ \ -\ ‘
)
-Plainuff, ) 0 9 8
) GJ.,- 211 1 6- 1 9
vs. 1 '
) Linda Morrlssé`y
PROGRESSIVE INSURANCE ) Judge: '
COMPANY, a Foreign for Profit )
Business, PROGRESSIVE SPECIALTY )
INSURANCE AGENCY, INC., a Fcreign ) ATTORNEY LIEN C_LAIMED
For Profit Business, PROGRESSIVE )
GROUP OF INSURANCE COMPANIES, )
A Foreign for Proi'lt Business, )
PROGRESSIVE DIRECT GROUP OF )
INSURANCE COMPANIES, a Foreign )
For Prof`tt Business, )
)
I)efendants. )
PETITION

COMES NOW the Plaintiff, Leslie Farmer, by and through her attorneys of record,
Garrett Law Center, PLLC, and for her cause of action against the above named Det`endants
alleges and states as follows: 7

JURISDICTION AND VENUE

l. That the Plaintiff is a resident of Tulsa, Tulsa County, State of Oklahoma. That
the Defendants, are foreign companies doing business in the State of Oklahoma. That the
automobile accident giving rise` to this action occurred in Tulsa, Tuisa County, State of

Oklahoma, thus making jurisdiction of this Courtjust and proper.

 

 

Case 4:16-Cv-00374-GKF-FHI\/| Document 2-2 Filed in USDC ND/OK on 06/22/16 Page 3 of 5

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COUNTI

BREACH OF CONTRACT

 

2. Plaintiff alleges that on September 26, 2008, the Plaintiff was a driver involved in
a motor vehicle collision with a third party driver.

3. The Plaintiff was a driver in an automobile covered by an insurance policy
issued by the Defendants. That said policy of insurance included coverage for injuries caused by
an uninsured/underinsured motorist for which the limits were $250,000.00 per person, and
$500,000.00 per incident. Further, that said policy Was in effect and covers injuries sustained by
the Plaintiff in the automobile accident that occurred on September 26, 2008.

4. AS a result of a third party driver's negligent operation of a vehicle on September
26, 2008, Plaintiff has suffered injuries to her person, has incurred medical expenses, has and
will endure mental and physical pain and suffering, has incurred past medical expenses, has
sustained permanent impairment and injury and may incur future medical expenses

5. That, at the time of the accident, the third party driver of other vehicle Was under-
insured. That pursuant to the terms of the policy of insurance with the Defendants, this is a
factual situation wherein the uninsured/underinsured motorist coverage contained in said policy
with Defendants applies to the accident involving Plaintiff and under-insured driver, occurring
on September 28, 2008.

6. Plaintiff has requested that Defendants make a settlement under said policy, and
Defendants have failed to make a reasonable oifer and payment in connection with said policy.
Plaintiff has performed all conditions precedent under the policy.

7. On or about February 23, 2016, Defendants denied Plaintiff of UM coverage.

8. That the Defendants have breached its contract of insurance and have wholly

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Case 4:16-Cv-00374-GKF-FHI\/| Document 2-2 Filed in USDC ND/OK on 06/22/16 Page 4 of 5

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refused or neglected to pay Plaintiff the value of her uncompensated damagesl Said failure
constitutes a breach of contract of said insurance policy, and the Plaintiff is entitled to a
judgement against Defendants in the amount of $10,000.00 for the personal injuries she
sustained while covered by such contract, together with attorney's fees and costs.
MI_LI.
BE_ACH OF THE COVENANT OF GOOD FAITH
AND FAIR DEALING

For her second claim for relief, the Plaintiff, I,eslie Farmer, alleges and states as follows:

9. She adopts and realleges the allegations of Count One, Paragraphs l through 7, as
if they were fully rewritten and fully set forth herein.

l0. In refusing to make the payment described, the Defendants breached their
obligation to pay the amount due under the policy as stated above within a reasonable amount of
time after having received notice of the loss described above. The Defendants further failed to
deal fairly with the_Plaintiff. The refusal of the Defendants to deal in good faith with the Plaintiff
was willful and in bad faith. ln so acting, the Defendants breached its implied covenant of good
faith and fair dealing that it would not do anything which would injure the right of the Plaintiff to
receive the full benefits of his insurance policy.

ll. As a proximate result of the bad faith of the Defendants described above, the
Plaintiff was forced to retain legal counsel at a substantial cost to her. Moreover, as a result of
the unreasonable refusal to pay policy benefits on the part of the Defendants, the Plaintiff has
suffered mental and emotional distress for which she is entitled to receive compensation in the

amount in excess of $10,000.00.

 

Case 4:16-Cv-00374-GKF-FHI\/| Document 2-2 Filed in USDC ND/OK on 06/22/16 Page 5 of 5

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grossly oppressive, wanton and willful, therefore entitling the Plaintift` to request and receive
punitive damages in an amount in excess of $10,000.00.

WHEREFORE, the Plaintift` prays judgment against the Defendants for actual damages
for attorney fees and for mental and emotional distress in excess of $10,000.00, as well as
punitive damages in an amount in excess of $10,000.00, his costs, attorney fees, and any other

relief this Court deems just and fair.

respectfully submitted this ,:QS day et May, 2016.

GARRETT LAW CENTER, PLLC

By: ///A///\

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Attomeys for Plaintiff

 

